Case 3:20-cr-00044-CAR-CHW Document 71-11 Filed 08/18/21 Page 1 of 12

United States of America

Department of the Treasury
Internal Revenue Service

Date: July 28, 2021
GERTIFICATE OF OFFICIAL RECORD

| certify that the annexed: is a graphic print of the electronically filed Form 1041,
U.S. Income Tax Return for Estates and Trusts, captioned Burgess Maitox Bey
Investment Trust, Business Entity Number XX-XXXXXXX, for the tax year 2016,
consisting of eleven (11) pages Ss Sp a ent QE ES ee

under the custody of this office.

IN WITNESS WHEREOF, | have hereunto set my
hand, and caused the seal of this office to be affixed,
on the day and year first above written.

By the direction of the Secretary of the Treasury:

a on

Supervisory Investigative Analyst
Internal Revenue Service-Criminal Investigation
Delegation Order 11-5

GOVERNMENT
EXHIBIT

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1D) eas

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a

Form 2866 (Rev. 09-97)
USAO-029226

Catalog Number 19002E “U.S. GPO: 1997-417-590/81741

RAM 07/28/2021
Case 3:20-cr-00044-CAR-CHW Document 71-11

Filed 08/18/21 Page 2 of 12

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DLN: 88236322009047 i

E Depatiment of the Treasury—internal Revenue Service
a1 041 U.S. Income Tax Return for Estates and Trusts

© Information about Form 1041 and its separate instructions is at www.irs.gov/form1041.

201 6 OMB No. 1545-0092

A Check all that apply: For calendar year 2016 or fiscal year beginning 01-01-2016, andending 12-31-2016
|] Decedent's Estate Name of estate or trust (If a grantor type trust, see the instructions.) | c Employer jdentification number
: BURGESS HATTOX BEY INVESTMENT TRUST gj XX-XXXXXXX
TI Simple trust - —— -
Name and title of fiduciary D Date entity created
M complex trust Asim El Bey 08-06-2015
U Qualified disability trust ae
ESBT (S portion only) Number, street, and room or suite no. (If a P.O. box, see the instructions.) E Nonexempt charitable and split-
2625 Piedmont Road NE Ste Ste 56-50 interest trusts, check applicable
O Grantor type trust box(és), see instructions. ‘
(C1 Bankruptcy estate-Ch. 7 | City or town, state or province, country, and ZIP or forelgn postal code [1 Deseribed in see. 4947(2)(1). Check here
O Bankruptcy estate-Ch, 11 Atlanta, GA 30324 if not a private foundation -» O
T] pooted income fund J pesoribed in sec. 4947(2)(2)
B Number of Schedules K-1 = Seki Initial relum CT ginal return Amended retuned Ol Superseded Retum [J net operating loss carryback
Ste boxes: Change in trust's name O Change in fiduciary oO Change in fiduciary's name i Change in fiduciary's address
G Check here If the estate or filing trust madea sectlon 645 election - + + = we (1 trust TIN &
Tu Weeki oe «eee et we RB FR SE , t= K # [1 | ” 47,660,000
Qa Total ordinary dividends »« + + + + * ~~. * * 8 * * 3 2a
b Qualified dividends allocable to: (1) Beneficiaries _________------- (2) Estate or trust ~~
e 3 Business income or (loss). Attach Schedule C or C-EZ (Form 1040) ‘ a : 3 Z
O| 4 Capital gain or (loss). Attach Schedule D (Form 1041) <« = # ® 4
& 5 ‘Rents, royalties, partnerships, other estates and trusts, etc. Attach Schedule E (Form 1040) 5
6 Farm income or (loss). Attach Schedule F (Form 1040) woe oe ee toe oe ee 6
7 Ordinary gain or (loss). Attach Form 4797 : ‘ _ | 7
8 Other income. List type and amount 3 |
9 Total income. Combine lines 1, 2a, 2 eet es ae ee - | 9 17,660,000
40 Interest. Check if Form 4952 is attached oO ._ 4 + = & = # soe & 8 | 10 |
di Taxes 8 et tt . * » « « « « | it
wl Fiduciary fees » * * me e we PF HB Be F . » | 12
| 13 Charitable deduction (from Schedule A, lIne 7) eee ee woe oe ele df AS
& 44 Attorney, accountant, and return preparer fees oe 8 a * * * 14
2 45a Other deductions not subject to the 2% floor (attach schedule) “ * a i5a
7 b Net operating loss deduction. See Instructions eos © @ = = » @ . . e »« | 15b
QO c Allowable miscellaneous itemized deductions subject to the 2% floor ~ oe we we | 15 e
416 Add lines 10 through 15c ~ a fee ee OR Fe ee eR SF . . © | 16
17 Adjusted total income or (loss). Subtract line 16 from line 9 sora | 17 | 17,660,000
18 Income distribution deduction (from Schedule B, line 15), Attach Schedules K-1 (Form 1041) 18 0
19 Estate tax deduction including cértain generation-skipping taxes (attach computation) » | 19
20 Exemption : # = f= % * # oF SF . » oo . ® es 2 * 20 100
Em. Addlines 18through20 - = + 5 5 7 tot tt . yo | 24 100

USAO-029227
Case 3:20-cr-00044-CAR-CHW Document 71-11

Filed 08/18/21 Page 3 of 12

22. Taxable income. Subtract line 21 from line 17. If a loss, see instructions | 22 | 17,659,900
23 Total tax (from Schedule G, line 7) oe oe oe oe oe eR ee ¥ 23 7,662,221
in | 24 Payments: a 2016 estimated tax payments and amount applied from 2015 return - 8 24a
< b Estimated tax payments allocated to beneficiaries (from Form 1041-T) si 24b
2 c Subtractline 24bDfromline 24a - «© + 5 8 ts oF * 24c
7 d Tax paid with Form 7004. See instructions Coe eee : 24d
O. e Federal income tax withheld. If any is from Form(s) 1099, check j. ] Con ew ww ee | 248 17,660,000
=z Other payments: f Form 2439 ___________------ +g Form 4136.0 =e ---- ; Total & | 24h
125 Total payments. Add lines 24c through 24e, and 24h oe bm 8 . | 25 17,660,006
5 26 Estimated tax penalty. See instructions ese et # & 26
re 27 Tax due. If line 25 is smaller than the total of lines 23 and 26, enter amount owed 27
28 Overpayment. If line 25 Is larger than the total of lines 23 and 26, enter amount overpaid a 28 9,997,779
29 Amount of line 28 to be: a Credited to 2017 estimated tax} ; b Refunded > 29 9,997,779
Under penalties of perjury, J declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
Sign belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) Is based on all information of which preparer has any knowled Ss. —
May the IRS discuss this return with
Here > oe oe shown below (see
Signature of fiduciary or officer representing fiduciary Date EIN of fiduciary If a financial institution ee! el
Print/Type preparer’s name Preparer's signature Date Cheek a se ‘im °° °° —
Paid self-employed
Preparer Firm's name Firm's EIN
Use Only Firm's address Be Phone no.
Cat. No. 11370H

‘For Paperwork Reduction Act Notice, see the separate instructions.

Form LO41 (2016)

USAO-029228
Case 3:20-cr-00044-CAR-CHW Document 71-11 Filed 08/18/21 P

Form 1044 (2016)

age 4 of 12

Amounts paid or permanently set aside for charitable purposes from gross income. See instructions

Schedule A Charitable Deduction. Don't complete for a simple trust or a pooled income fund.
. {4

1 J
2 Tax-exempt income allocable to charitable contributions. See instructions 2
3 Subtract line 2 from line 1 woe toe oe eee | 3
4 Capita! gains for the tax year allocated to corpus and paid or permanently set aside for charitable purposes | 4 |
¢ WiieeGasdd « = w+ ef Re ef Rm ww 8 te Mn Gun laste | 5 _|
6 Section 1202 exclusion allocable to capital gains paid or permanently set aside for charitable purposes. See instructions 6
7. Charitable deduction. Subtract line 6 from line 5. Enter here and on page 1, line 13 woke RE | 7 |
Schedule B Income Distribution Deduction
4 Adjusted total income. See instructions ~ -« # © e © & F B® i 5 [i 17,660,000
2 Adjusted tax-exempt interest Cow ee ee ee Hw BH RF » {24
3. Total net gain from Schedule D (Form 1041), line 19, column (1). See instructions » | 3 |
4 Enter amount from Schedule A, line 4 (minus any allocable section 1202 exclusion) » 4d
5 Capital gains for the tax year included on Schedule A, line 1. See instructions ow * + & # » Ls
6 Enter any gain from page 1, line 4, as a negative number. If page 1, line 4, is a loss, enter the loss as a positive number | 6 |
7 Distributable net income. Combine lines 1 through 6. If zero or less, enter -0- eo | 7 | 17,660,000
8 Ifa complex trust, enter accounting income for the tax year as
determined under the governing instrument and applicable local law | 8 17,660,000
9 Income required to be distributed currently woe oe oe oe woe oe ee > 9
40 Other amounts pald, credited, or otherwise required to be distributed coe ee RF | 10 |
41. Total distributions. Add lines 9 and 10. If greater than line 8, see instructions oo. wo z a1
42 Enter the amount of tax-exempt income included on line 11 ow ee Ee ee oe Be | 12 |
13 Tentative Income distribution deduction, Subtract line 12 from line 11 oo | 13 |
44 Tentative income distribution deduction. Subtract line 2 from line 7, If zero or less, enter -0- so | 14 | 47,660,000
45 Income distribution deduction. Enter‘the smaller of line 13 or line 14 here and on page 1, line 18 15 | 0
Schedule G Tax Computation (see instructions)
1 Tax:a Tax on taxable Income. See instructions oe ew we ee | de 6,991,616
b Tax on lump-sum distributions. Attach Form 4972 sf 1b
c Alternative minimum tax (from Schedule 1 (Form 1041), line 56) | tc |
d. Total. Add lines 1a through ic Coe em ewe Rw He HOR Re” ke | id 6,991,616
2a Foreign tax credit. Attach Form 1116 oe ewe ee | Be YC
b General business credit. Attach Form 3800 oe oe oe oe 2b
c Credit for prior year minimum tax. Attach Form 8801 go. & Ze
d Bond credits. Attach Form 8912 oo. ee ee 2d
e Total credits. Add lines 2a through 2d > es € 8 e - BF Re HHS . . « & | 2e
3 Subtract line 2e from line id. If zero or less, enter -O- ee woe ee SH OE | 3 | 6,991,616
4 Net tnvestment income tax from Form 8960, line 21 3 poe oe oe HF so soe er | 4 670,605
5  Recapture taxes. Check if from: oO Form 4255 C1 Form 8611 7 ee se |
6 Household employment taxes. Attach Schedule H (Form 1040) << . «# 6
7 Total tax. Add lines 3 through 6. Enter here and on page 1, line 23 . oe eo eo .* | 7 | 7,662,221
Other Information Yes | No
1. Did the estate or trust receive tax-exempt income? If “Yes,” attach a computation of the allocation of expenses. i
Enter the amount of tax-exempt interest Income and exempt-interest dividends ®$,_.....-------------02 000007
2 Didthe estate or trust receive all or any part of the earnings (salary, Wages, and other compensation) of any
individual by reason of a contract assignment or similar arrangement? es ®# © * © @ 8 Td ¥j
3. At-any time during -calendar year 2016, did the estaté er trust have an interest in or a signature or other authority
over a bank, securities, of.other financial accountin a foreign country? Soe eRe Gi 7
See the instructions for exceptions and filing requirements for FinCEN Form 114. Tf “Yes,” enter the name of the
foreign country ° cm eintanestes pene pena cE TEA i ARS acocfieriaimemescesnat eee eee ee
4 During the tax year, did the estate or trust receive a distribution from, or was it the grantor of, or transferor to, a
foreign trust? If “Yes;" the estate or trust may have to file Form 3520, See instructions poe eee J fy
5 Did the estate or trust receive, or pay, any qualified residence interest on seller-provided financing? If “Yes,” see
the instructions for required attachment ge oe Oe OO OH Ee e = 2 * & wy
6 iIfthisIsan estate ora complex trust making the section 663(b) election, check here. See instructions oF EI
7 Tomakea section 643(e)(3) election, attach Schedule D (Form 1041), and check here. See instructions _& Ol
8 |fthe decedent's estate has been open for more than 2 years, aftach an explanation for the delay in closing the estate, and chéck here j [|
9 Are any present or future trust beneficiaries skip persons? See instructions cor *® » & * & = & & HS } wi
40 Was the trust a specified domestic entity required to file Form 8938 for the tax yéar (see the Instructions for Form 8938)? Fy Mj

Form LO41 (2016)

USAO-029229
Case 3:20-cr-00044-CAR-CHW Document 71-11 Filed 08/18/21

Additional Data

Software ID:
Software Version:
EIN:

Name:

Header - Business Name Control:

Page 5 of 12

46000212
tai6mefv1.0
XX-XXXXXXX

BURGESS MATTOX BEY INVESTMENT
TRUST

BURG

USAO-029230
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se 3:20-cr-00044-CAR-CHW Document 71-11 Filed 08/18/21 Page 6 of 12

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DLN: 88236322009047 |

_ 8960 Net Investment Income Tax—
rorm Individuals, Estates, and Trusts

P- Attach to your tax return.

Department of the Treasury Information about Form 8960 and its separate instruc
Internal Revenue Service (99)

tions is at www.irs.gov/form

g9G60.

OMB No.1545-2227

2016

Attachment
Sequence No. 72

Name(s) shown on your tax return
BURGESS MATTOX BEY INVESTM ENT TRUST

You

r social security number or EIN

XX-XXXXXXX

[1 Section 6013(g) election (see instructions)
1 Section 6013(h) election (see instructions)
tion 1.1411-10(g) election (see instructions)

Parti Investment Income

T Regulations sec

4 Taxable interest (see instructions) Som ee UU RR es oa # 4 17,660,000
2 Ordinary dividends (see instructions) woe oe « 8 * 2
3 Annuities (see instructions) oe pp » 2 @ © & # £ FM HF . © « 3
4a Rental real estate, royalties, partnerships, S corporations, trusts, etc. | |
(see instructions) , oe el 4a
b Adjustment for net income or loss derived in the ordinary course of a non- | |
section 1411 trade or business (see instructions) » «© * 5 5 * 4b
c Combinelinesdaand4b. © * + 5 * 8 * ¥ s oo* *® * 4 4c
5a Net gain or loss from disposition of property (see instructions) * = 5a
b Net gain or loss from disposition of property that is not subject to net se
investment income tax (see instructions) » + 6 « 5 "7 * * 5b
c Adjustment from disposition of partnership interest or S corporation stock se |
(see instructions) Coe ek 0
d Combine !Ines 5a through5c . «© © 5 7 t es eft « * : 5d
6 Adjustments to investment income for certain CFCs and PFICs (see instructions) + 8 # 8 6
7 Other modifications to investment income (see instructions) - + += 3 . 7
8 Total investment income. Combine lines 1, 2, 3, 4¢, 5d,6,and7 +. + + + * « # _* 8 17,660,000
Part il Investment Expenses Allocable to Investment Income and Modifications __
Sa Investment interest expenses (see, instructions) ~ oe © © * * |. 9a
b State, local, and foreign income tax (see instructions) » » * * * 9b
c Miscellaneous investment expenses (see instructions) <# - 8 9c
d Addlines9a,9b,and9c - © © 8 7 8? -_ * © 8 » oe ee : | 9d |
40 Additional modifications (see instructions) « 8 & & # & . - 3 10
14. Total deductions and modifications. Add lines Odandi0 « «= + 2 # 5 ss st 11
PartIIl Tax Computation
12 Net investment income. Subtract Part I, line 41 from Part I, line 8. Individuals complete lines 13-17.
oe oe of 12 17,660,900

Estates and trusts complete lines 48a-21. If zero or less, enter -O- as = #

Individuals:

fe

13 Modified adjusted gross income (sée instructions)» * * * * *
44 Threshold based on filing status (see instructions) - oe ee
45 Subtract line 14 from line 13. If zero or less, enter -0- 2. 8 et
46 Enter the smaller oflinei2orline15- +» © » 7 tt? -_ * *® * % . 16
17 Net investment income tax for individuals, Multiply line 16 by 3.8% (.038).
Enter here and include on your tax return (see instructions) 2 # ® 17
Estates and Trusts:
i8a Net investment income (line d2above) -« -s = 5 + 18a 17,660,000
b Deductions for distributions of net investment Income and deductions :
under section 642(c) (see instructions) woe 18b
c Undistributed net Investment income. Subtract line 18b from 18a
(see instructions). tf zero orless, enter-O-- - *  * o  * 18c¢ 17,660,000
19a Adjusted gross income (see instructions)» + + 5 6 * 19a | 17,659,900
b Highest tax bracket for estates and trusts for the year (see instructions) 19b 12,400
c Subtract line 19b from liné 19a. If zero or less; enter-O- +» = = + | i9¢ 17,647,500
20 Enter the smaller oflineiBcorline19c - + + 3 oe * *© 8 F BFF 20 17,647,500
21 Net ifivestment jncome tax for estates and trusts. Multiply line 20 by 3.8% (.038). ,
Enter here and include on youir tax return (see Instructions) +» os +" 1 + #5 21 670,605
For Paperwork Reduction Act Notice, see your tax return instructions. Cat. No, 59474M Form 8960 (2016)

USAO-029231
Case 3:20-cr- -
20-cr-00044-CAR-CHW Document 71-11 Filed 08/18/21 Page 7 of 12

Software ID: 16000212
Software Version: tal6émefvi.0
EIN: XX-XXXXXXX
Name: BURGESS MATTOX BEY INVESTMENT TRUST

USAO-029232
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ase 3:20-cr-00044-CAR-CHW Document 71-11 Filed 08/18/21 Page 8 of 12

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DLN: 88236322009047 |

TY 2016 Other Withholding
_Statement_____..

FIN: XX-XXXXXXX
Software ID: 16000212
Software Version: tai6mefvi.0

Name: BURGESS MATTOX BEY INVESTMENT TRUST

17,660,000

Withholding Code
FORM 1099

USAO-029233

Case 3:20-cr- -
€ 3:20-cr-00044-CAR-CHW Document 71-11 Filed 08/18/21 Page 9 of 12

DLN: 88566322006097 }

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661114

C1 Final K-1 M) amended K-1 OMB No. 1545-0092

Schedule K-1
(Form 10414)

Department of the Treasury
Internal Revenue Service

2016

For calendar year 2016,
or tax year beginning 01-01-2016 ,
and ending _ 12-31-2016

Beneficiary's Share of Income, Deductions,
Credits, etc. } See back of form and instructions.

7 Beneficiary’s Share of Current Year Income,

Deductions, Credits, and Other Items
41 ; Final year deductions

Part IL

41 : Interest income

Part I Information About the Estate or Trust

A Estate's or trust's employer identification number
XX-XXXXXXX

B. Estate's or trust's name
BURGESS MATTOX BEY INVESTMENT TRUST

€ Fiduclary's name, address, city, state, and ZIP code

2625 Piedmont Road NE Ste Ste 56-50

0

‘Qa : Ordinary dividends

3 gies!
2b : Qualified dividends

3 i i if
3B Net short-term capital gain

0
4a : Net long-term capital gain -rccanl estoares vr slither crcrumesscas ls

0
Ab : 28% rate gain |

0 12 jAlternative minimum tax adjustment

a
Aci Unrecaptured section 41250 gain

a cake rig senpenantrnannnsneas ieaaanatee

ae
5 ; Other portfolio and

? nonbusiness income

Atlanta,GA 30324

D J Check if Form 10414-T was filed and enter the date it was filed

—_—_—__———_—_——__

E {4 Check if this is the final Form 1041 for the estate or trust

PartII Information About the Beneficiary

F  Beneficiary's identifying number

XX-XXXXXXX
G  Beneficiary’s name, address, city, state, and ZIP code

MARQUET ANTWAIN BURGESS MATTOX TRUST

2625 Piedmont Road NE
Ste 56-507
Atlanta, GA 30324

a

H a Domestic beneficiary Foreign beneficiary

$ 0
6 : Ordinary business. income econo chests ateton conte CaeiEeSiNeA siererastintsteemy steennt
0
7 Wet rental real estate income ccasnune dy geseesderesivsbanimececeneia sours orpminenntimes egmminne ete
0
°g | Other rental income |__;§ _— :
° 43 ; Credits and credit recapture
0 !
S Directly apportioned deductions
44 3 Other Information
10 ; Estate tax deduction
a gone Epi uns a unanncvcn os nee OPE ass RCN ann rer meeA ES

po

*See attached statement for additional information.

Note. A statement must be attached showing the
beneficiary's share of income and directly apportioned
deductions from each business, rental real estate, and
other rental activity.

‘For IRS Use Only”

Schedule Ki (Form 1041) -2016

For Paperwork Reduction Act Notice, see the Instructions for Form 1041.

TRS.gov/formi044 Cat. No. 11380D

USAO-029234
Case 3:20-cr- -
3:20-cr-00044-CAR-CHW Document 71-11 Filed 08/18/21 Page 10 of 12

Data :

Jdantona’

Software ID: 16000212

Software Version: tal6mefv1.0
EIN: XX-XXXXXXX

Name: BURGESS MATTOX BEY INVESTMENT TRUST

USAO-029235
Case 3:20-cr-00044-CAR-CHW Document 71-11 Filed 08/18/21 Page 11 of 12

ry ‘Return, * piocessable Datel’
Filer EIN 30- -6497505
‘Filer Name BURGESS MATTOX BEY INVESTMENT TRUST
Fiduciary Title Trustee
Name Conirol BURG

Filer U, S. Address 2625. Piedmont” Road NE Ste Ste 56-50
Atlanta, GA 30324

DLN 88236322009047
Return Type i044
Filing Type
_ Tax Perlod 201612
appa es 2S.
“= TS" 8 stamp 2017-11-18T10:52:00-06:00
Tax Period Begin Date 2016-01-01 :
Tax Period End Date 2016-12-31
Software ID 16000212
Software Version, taiémefvi.0
Multiple Software Packages. Used? No :
"signature, Option BINARY ATTACHIENT 8453 SIGNATURE DOCUMENT
Tax Year: 2016
Binary Atfachment Count 1, ~
TP-Address 71.86,96.61 |
IP Date 2047-11-18 -
! Ip Time-10:52:00— -
“IP. Timezone cs...
Device ID vo asosivddei7EceBsCese426D07E361348A65
Device ID 370AS0E81D82B17ECSBSC65842CD07E36134BA65

“Schedule K-1 (1042) (986080212) |

Other Withholding Staternent i

Amended Retum Ghanges |

8453 Signature Document |

USAO-029236
Case 3:20-cr-00044-CAR-CHW Document 71-11 Filed 08/18/21 Page 12 of 12

U.S. Estate or Trust Declaration OMB No. 1545-0967
For calendar year 2016, or fiscal year beginning
Depariment of the Treasury > File electronically with the estate's or frust's return. Do not file paper copies.

rom 0453-FE
orm for an IRS e-file Return 9
Internal Revenue Service > Information about Form 8453-FE and its instructions is at www.irs.gov/form8453fe.

; and ending —
Employer identification number

Name of estate or trust

BURGESS MATTOX BEY INVESTMENT TRUST XX-XXXXXXX

Name and fitle of fiduciary

Asim El Bey , Trustee

Tatu Tax Return Information
4 Total income (Form 1041, line9)......--------- seni EMRE eRe 1 17,660,000.
2 Income distribution deduction (Form 1044, line acc nc ek Mew ew Ew ERE em 2 0.
3 Taxable income (Form 1041, line22). 0... 2 3 17,659,900.
4 Total tax (Form 1041, line23). 0.2. 2 ee ts 4 7,662,221.
5 Tax due or overpayment (Form 1041, line 27 or 28)... . 7) 5 9,997,779.

[Gay Declaration of Fiduciary

6 [| l authorize the U.S. Tréasury and its designated Financial Agent to initiate an ACH electronic funds withdrawal (direct debit) entry to the financial institution
account indicated in the tax preparation ‘software for payment of the estate's or trust's taxes owed on this return, and the financial institution to debit the entry 10
this account. To revoke a payment, | must contact the U.S. Treasury Financial Agent at 1-888-353-4537 no later than 2 business days prior to the payment
(sétilement) date. talso authorize the financial institulions irivolved in the processing of the electronic payment of taxes to receive confidential information

necessary to answer Inquiries and resolve issues related to the payment.

| declare that the above amounts (or the amounts on the attached listing) agree with the amounts shown on the corresponding lines of the
electronic portion of the 2016 U.S. income Tax Return(s) for Estates and Trusts. | have also examined a copy of the return(s) being filed electronically with the IRS, and all
accompanying schedules and staiements. To the best of my knowledge and belief, they are true, correct, and complete. If | am not the transmitter, | consent that the réturn(s),
including this declaration and accompanying schedules and statemenis, be sent fo the IRS by the return transmitter. | also consent to the.IRS's sending the ERO and/or
transmitier an acknowledgement of receipt of transmission and an indication of whether or not the return(s) is accepted, and, if rejected, ihe reason(s) for the rejection.

Under penalties of perjury,

Sign > Ati EL Bey 18th, November 2017

Her e Signature of fiduciary or Giicer representing fiduciary Date

GEIGL) | Declaration of Electronic Return Originator (ERO) and Paid Preparer (see instructions)

| declare'that | have. reviewed the above estate or trust return(s) and that the entries on Form 8453-FE are complete and corréct to the best of my knowledge. IFlam only.a
collector, | arm not responsible for reviewing the retum(s), and orily declare that this form:accuralely reflects the data on the return(s). The fiduciary or an officer representing

the fiduciary will have Signed this form before 1 submit the rettirn(s). 1 will give the fiduciary or officer representing the fiduciary a copy of all forms and information to be filed
with the IRS, and have followed all other requirements described in Pub. 4164, Modernized e-File (MeF) Guide for Software Developers and Transmitters. If lam: also the Paid
hedules and statements, and to the best of my

Preparer, under penalties of perjury | declare that | have examined the above estate or trust retum(s) and accompanying sc!
knowledge and belief, they are true, corréct,-and complete. Declaration of preparer is based on all information of which the preparér has any knowledge.

' Date Check if Check if ERO's SSN or PTIN
roxy ERO's also paid self
ERO's signature D> preparer > C] employed b[ |
Use Firm's ‘name (oryours , EIND
Onl if self-employed), > : :
y address, ‘and ZIP code . PHoné no.

| declare that | have examined the above estate or trust return(s) and accompanying schedules and statements, and to the best of my knowledge

Under penalties of perjury, (
is based on all information of which the preparer has any knowledge.

and belief, they are true, correct, and complete. Declaration of preparer

Pp aid | Print/Type preparer's name Preparer's signature Date Check [| if PTIN
: : self-employed
Preparer
Use Only Firm'sname Pb Firm's EIN »

“| Firm's address > Phone no.

Form 8453-FE (2018)

For Privacy Act and Paperwork Reduction Act Notice, see instructions.
UYA

USAO-028237
